                          UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                             NO. 3:17-CV-00643-FDW-DCK
 ERIC KINSINGER and DENISE
 KINSINGER,

                 Plaintiffs,

    v.                                                            ORDER


 SMARTCORE, LLC, et. al.

                 Defendants.


         THIS MATTER is before the Court on several pending motions filed by Plaintiffs seeking

the Court’s assistance in enforcing the judgment entered in this case (Doc. No. 184, 188, 189, 190).

Following the filing of these motions, Plaintiff filed a Satisfaction of Judgment (Doc. No. 192),

which Defendant Winn contends moots all pending motions related to Plaintiff’s enforcement of

the judgment (Doc. No. 193 (citations omitted)). The Court agrees, and these motions shall be

denied as moot. Notably, Plaintiffs’ Satisfaction of Judgment indicates it is filed “without

prejudice to Plaintiffs’ pending motion for attorney fees.” (Doc. No. 192 (emphasis added)). The

Court has already ruled on Plaintiffs’ motions for attorney’s fees (Doc. Nos. 128, 145), and no

other motion regarding attorney’s fees remains “pending” on the Court’s docket.

         IT IS THEREFORE ORDERED that the pending motions (Doc. No. 184, 188, 189, 190)

are DENIED AS MOOT.
                                             IT IS SO ORDERED.


                                              Signed: September 21, 2021




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